Trucker + Huss

A Professional Corporation
15821 Ventura Blvd., Suite 510

Los Angeles, California 91436

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Attorne s for Defenda.nt

NORT OP GRUMMAN CORPORATION

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF CALIFORNIA

DARIN JOSEPH SUPEL, '
Plaintiff,

VS.

NORTHROP GRUMMAN HEALTH
PLAN; NORTHROP GRUMMAN
CORPOBATION, a Delaware
cogporatlon' and UNUM LIFE

IN URAN€:E cQMPANY 0_F
AMERICA, a Mame corporatlon,

Defendants.

 

Case No. 18-cv-2240-CAB RBB
NOTICE OF SETTLEMENT

 

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No: 18-CV-2240-CAB
179772.v1

 

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NOTICE OF SETTLEMENT

Plaintiff Darin Joseph Supel (“Plaintiff”) and defendant Northrop Grumman
Corporation (“Defendant”) hereby notify the Court that Plaintiff and Defendant have
reached a settlement in principle as to the entire action. Plaintiff and Defendant
anticipate finalizing their written settlement agreement and filing a stipulated
dismissal of this action as to all parties within the next fourteen (14) days. In light of
the pending settlement, Plaintiff and Defendant hereby request that all dates and
deadlines be vacated pending the memorialization of the settlement in a Written

settlement agreement and pending the filing of a stipulated dismissal.
Respectfully submitted:
TRUCKER t HUSS

DATED; January 18, 2019

By: /s/ Joseph C. Faucher

Jos_eph F. Faucher
Brian D. Murray

 

Attorne s for Defendants
NORT ROP GRUMMAN

 

CORPORATION
DATED: January 18, 2019 Brbc"~ O>C-» :,_/
Darin Joseph Supel \

 

NOTICE OF SETI`LEMENT
Case No: lS-CV-2240-CAB

 

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